    Case: 3:21-cr-50008 Document #: 19 Filed: 09/20/21 Page 1 of 1 PageID #:125

                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )   Case No.: 21-CR-50008
                                                )
SCOTT KOTESKI                                   )   Hon. Judge Iain Johnston

            URGENT (BUT NOT EMERGENCY) MOTION FOR EXTENSION
             OF DATE FOR SELF SURRENDER TO BUREAU OF PRISONS

       NOW COMES Defendant, SCOTT KOTESKI by and through his attorney Brendan W.
Caver, and for his motion states as follows:

       1.     Defendant was previously sentenced to a term of incarceration in the bureau of
              prisons with a self-surrender date of September 20, 2021 at 2:00 p.m., today.

       2.     Today at 6:30 a.m., Defendant’s grandchild was born. Defendant would like to
              see his grandchild and would also like to be available to assist his son in the care
              of the newborn immediately following the child’s birth.

       3.     Defendant understands that the filing of this motion does not toll his self-
              surrender date of today as previously scheduled, if it is not granted before that
              time.

       4.     The government does not object to the request to extend Defendant’s self-
              surrender date by seven (7) days to September 27, 2021 at 2:00 p.m.

       5.     Pretrial services does not object to the request to extend Defendant’s self-
              surrender date by seven (7) days to September 27, 2021 at 2:00 p.m.

        WHEREFORE, Defendant prays this court grant this motion and extend Defendant’s
self-surrender date by seven (7) days to September 27, 2021 at 2:00 p.m., even if simply by a
docket entry.
                                                         Respectfully Submitted,
                                                  By:    /s/ Brendan W. Caver
                                                         on behalf of Defendant

                               CERTIFICATE OF SERVICE

        The undersigned counsel certifies that he served the above and foregoing document upon
all parties entitled to notice thereof by use of this Court’s Electronic Case Management system
on the 20th day of September, 2021.
                                                              /s/ Brendan W. Caver
Brendan W. Caver                                              Brendan W. Caver
Law Office of Brendan W. Caver, Ltd.
308 West State Street #321
Rockford, Illinois 61101
(815) 714-9508
Brendan@CaverLawOffice.com
